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 1                                                    The Honorable Barbara J. Rothstein

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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
      RICARDO SALOM, CATHERINE
 8    PALAZZO as assignee for Ruben Palazzo,    NO. 2:24-cv-00444-BJR
      and PETER HACKINEN, on their own
 9    behalf and on behalf of other similarly   DEFENDANT FEDERAL HOME LOAN
      situated persons,                         MORTGAGE CORPORATION’S
10                                              MOTION TO DISMISS PLAINTIFFS’
                             Plaintiffs,        AMENDED COMPLAINT
11
              v.                                NOTE ON MOTION CALENDAR:
12                                              October 15, 2024
      NATIONSTAR MORTGAGE LLC, et al.,
13
                             Defendants.
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                                                                        Miller Nash LLP
     DEFENDANT FEDERAL HOME LOAN MORTGAGE                          605 5th Avenue S | Suite 900
                                                                       Seattle, WA 98104
     CORPORATION’S MOTION TO DISMISS
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1                              OVERVIEW AND RELIEF REQUESTED

2            Defendant Federal Home Loan Mortgage Corporation (“Freddie Mac”) is a Government

3    Sponsored Enterprise formed under the Federal Home Loan Mortgage Corporation Act and is a

4    government instrumentality for purposes of this lawsuit. Congress chartered Freddie Mac to

5    facilitate the nationwide secondary residential mortgage market. Pursuant to its federal charter,

6    Freddie Mac plays a central role in making mortgage loans available to consumers and

7    lowering interest rates across the nation.

8            To advance those critical public goals, the Supreme Court created the Merrill Doctrine,

9    which provides that an instrumentality of the federal government cannot be vicariously liable

10   for actions taken by its agents unless the instrumentality actually authorized the challenged

11   actions. Thus, under the Merrill Doctrine, Freddie Mac cannot be vicariously liable for its

12   servicer’s unauthorized acts, including those acts alleged against Nationstar Mortgage LLC

13   (“Nationstar”) in this lawsuit.

14           This is a textbook case for application of the Merrill Doctrine. The Amended

15   Complaint alleges that Defendant Nationstar charged Ruben Palazzo a fee to obtain a payoff

16   quote and seeks to hold Freddie Mac liable for Nationstar’s actions. The Amended Complaint,

17   however, does not contain a single allegation that Freddie Mac instructed Nationstar to charge

18   the fee or actually authorized Nationstar to do so. Indeed, Plaintiffs admit that Freddie Mac

19   required Nationstar to service all Freddie Mac loans – including the loans at issue in this

20   lawsuit – in accordance with federal and Maryland law. This admission is fatal to Plaintiffs’

21   claim against Freddie Mac: Freddie Mac expressly requires its servicers to comply with all

22   applicable law and charge only lawful fees and therefore, if the fee is unlawful, as Plaintiffs

23   allege, under the Merrill Doctrine, Freddie Mac cannot be liable for Nationstar’s imposition of

24   that fee. As federal courts have consistently done in similar circumstances, this Court should

25   dismiss the claim asserted against Freddie Mac in this case. Johnson v. Fed. Home Loan

26   Mortg. Corp., 2013 WL 308957, at *6 (W.D. Wash. Jan. 25, 2013) (dismissing claims against
                                                                                     Miller Nash LLP
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1    Freddie Mac on Rule 12(b)(6) motion to dismiss as barred by Merrill Doctrine), dismissal

2    affirmed, 793 F.3d 1005 (9th Cir. 2015); Paslowski v. Std. Mortg. Corp. of Ga., 129 F. Supp. 2d

3    793, 802 (W.D. Pa. 2000) (same); Deerman v. Fed. Home Loan Mortg. Corp., 955 F. Supp.

4    1393, 1400 (N.D. Ala. 1997), aff’d sub nom., 140 F.3d 1043 (11th Cir. 1998) (same); see also

5    Coniglio v. Fed. Nat’l Mortg. Ass’n, Corp., 2019 WL 9633294, at *4 (M.D. Fla. Sept. 16,

6    2019) (same as to Fannie Mae); Cannon v. Wells Fargo Bank N.A., 917 F. Supp. 2d 1025, 1035

7    (N.D. Cal. 2013) (same).

8            Plaintiff Palazzo’s breach of contract claim1 – the only claim asserted against Freddie

9    Mac – must be dismissed for the additional reason that the Amended Complaint fails to

10   sufficiently plead a claim for such relief. Specifically, the Amended Complaint does not

11   plausibly allege a breach of any contractual provision by Freddie Mac.

12           Freddie Mac therefore respectfully requests that this Court dismiss with prejudice the

13   claim asserted against it by Plaintiffs Ricardo Salom, Catherine Palazzo as assignee for Ruben

14   Palazzo, and Peter Hackinen pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure

15   for failure to state a claim on which relief could be granted.

16                                           BACKGROUND
17   I.      PARTIES
18           A.         Freddie Mac
19           Congress chartered Freddie Mac to facilitate the nationwide secondary residential

20   mortgage market. See 12 U.S.C. § 1451. Freddie Mac plays a critical role in the national

21   housing market; it “support[s] the U.S. housing finance system and helps ensure a reliable and

22   affordable supply of mortgage funds across the country.” https://www.freddiemac.com/about.

23   Freddie Mac buys mortgage loans from the originating lenders through a secondary market. Id.

24   Lenders use the money raised by selling mortgage loans to Freddie Mac to make more loans.

25   1
      Plaintiffs’ counsel confirmed during the parties’ telephonic meet and confer that the breach of
26   contract claim against Freddie Mac was asserted on behalf of Palazzo only, not Salom or
     Hackinen.
                                                                                     Miller Nash LLP
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1    Id. By maintaining a secondary mortgage market, Freddie Mac ensures that lenders have a

2    continuous and stable supply of funds to loan to individuals and families that buy homes and

3    investors that purchase multifamily dwellings. Id.

4            Freddie Mac’s participation in the mortgage market attracts investors who might not

5    otherwise invest in mortgages, thereby expanding the pool of funds available to lend for

6    housing. Id. This makes the secondary mortgage market more liquid. See id. Freddie Mac

7    also helps stabilize the mortgage market and protects housing when turmoil in the broader

8    financial system threatens the economy. Id. Freddie Mac’s support for mortgage lending that

9    finances affordable housing reduces the cost of such borrowing. Id.

10           Today, Freddie Mac, operating under its congressional charter, continues to “perform an

11   important role in the nation’s housing finance system – to provide liquidity, stability and

12   affordability to the mortgage market.” https://www.fhfa.gov/about-fannie-mae-freddie-mac.

13           The Housing and Economic Recovery Act of 2008 (“HERA”), Pub. L. No. 110- 289,

14   122 Stat. 2654 (codified as 12 U.S.C. § 4511 et seq.), established the Federal Housing Finance

15   Agency (“FHFA” or “Conservator”) as [Freddie Mac]’s primary regulator. On September 6,

16   2008, pursuant to HERA, the Director of FHFA placed Freddie Mac into conservatorship,

17   where it remains to this day.2 See 12 U.S.C. § 4617(a). As Conservator, FHFA succeeded to

18   all of Freddie Mac’s rights, titles, powers, privileges, and assets. Id. at § 4617(b)(2)(A)(i).

19   FHFA, as Conservator, is statutorily empowered to preserve and conserve Freddie Mac’s assets

20   and property, to operate Freddie Mac, to perform all of Freddie Mac’s functions in Freddie

21   Mac’s name, and to collect all obligations and money due to Freddie Mac. Id. at

22

23
     2
24     “Why Fannie Mae and Freddie Mac are in Conservatorship,” FED. HOUSING FIN. AGENCY,
     https://www.fhfa.gov/Conservatorship. The Court may take judicial notice of the fact that
25   Freddie Mac was placed under FHFA’s conservatorship in 2008 and remains in conservatorship
     today, pursuant to pursuant to Fed. R. Evid. 201. See Bank of Am., N.A. v. T-Shack, Inc., 2021
26   WL 5823705, at *1 (9th Cir. Dec. 8, 2021) (affirming that “district court properly took judicial
     notice of the fact that Freddie Mac was in FHFA conservatorship”).
                                                                                      Miller Nash LLP
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1    § 4617(b)(2)(B)(i)-(iv). Congress also mandated that “no court may take any action to restrain

2    or affect the exercise of [FHFA’s] powers or functions . . . as a conservator.” Id. at § 4617(f).

3            B.         Plaintiffs
4            According to the Amended Complaint, Ruben Palazzo obtained a mortgage loan in

5    April 2007 from SunTrust Mortgage, Inc., secured by a deed of trust (the “Deed of Trust”) on

6    real property located in Pittsville, Maryland (the “Palazzo Mortgage Loan”). Am. Compl. ¶ 93.

7    The Palazzo Mortgage Loan was subsequently sold to Freddie Mac, which remains the current

8    owner. Id. ¶¶ 2, 94. The Amended Complaint further states that, in January 2024, Ruben

9    Palazzo assigned his consumer claims to his wife, Plaintiff Catherine Palazzo (hereinafter,

10   “Palazzo”). Id. ¶ 25.

11           Plaintiffs Ricardo Salom and Peter Hackinen obtained mortgage loans in June 2003

12   from Wachovia Mortgage Corporation and in December 2006 from First Horizon Home Loan

13   Corporation, respectively. Id. ¶¶ 75, 113. Freddie Mac is not alleged to have ever had an

14   interest in these loans, and Plaintiffs Salom and Hackinen do not assert any claims against

15   Freddie Mac.

16           C.         Nationstar
17           Defendant Nationstar has serviced the Palazzo Mortgage Loan on behalf of Freddie

18   Mac since June 2022. Am. Compl. ¶ 94. As Freddie Mac’s servicer, Nationstar is obligated to

19   perform its servicing duties in accordance with the Freddie Mac Single-Family Sellers and

20   Servicers Guide (the “Guide”), which is the primary document outlining the contractual

21   relationship between Freddie Mac and its sellers/servicers, including Nationstar.3

22

23   3
      Freddie Mac Single-Family Seller/Servicer Guide (June 12, 2024),
24   https://guide.freddiemac.com/app/guide. Relevant excerpts from the Guide are submitted
     herewith as Exhibit A to the Esler Declaration. The Court may take judicial notice of the
25   public records of federal instrumentalities such as Freddie Mac on a motion to dismiss,
     pursuant to Fed. R. Evid. 201. See Johnson, 2013 WL 308957, at *6 (taking judicial notice of
26   Freddie Mac Guide on Rule 12(b)(6) motion to dismiss); see also Mack v. South Bay Beer
     Distrib., Inc., 798 F.2d 1279, 1282 (9th Cir. 1986).
                                                                                     Miller Nash LLP
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1                 PROCEDURAL HISTORY AND SUMMARY OF ALLEGATIONS.

2            Plaintiffs Salom, Palazzo, and Hackinen filed this lawsuit on February 28, 2024. ECF

3    No. 1. They asserted claims against Nationstar based on its imposition of a fee to receive a

4    payoff quote (“Payoff Fee”). Compl. ¶ 2. The Complaint alleged that Freddie Mac owns the

5    Palazzo Mortgage Loan but made no allegations of wrongdoing by Freddie Mac and asserted

6    no claims against Freddie Mac. Id. ¶ 76.

7            On May 30, 2024, Plaintiffs filed the Amended Complaint, which, among other

8    changes, added Freddie Mac as a defendant and putative “Defendant Class” representative.

9    Am. Compl. ¶¶ 2, 143. The Amended Complaint asserts only one claim against Freddie Mac,

10   for breach of contract (Count II), which Plaintiffs assert in the alternative to the unjust

11   enrichment claim (Count I) asserted against Nationstar. Id. ¶¶ 175-88.

12           Specifically, Plaintiffs allege that Nationstar, acting as Freddie Mac’s loan servicer,

13   charged Palazzo a $25 Payoff Fee in September 2023. Id. ¶¶ 102-104. According to Plaintiffs,

14   the Palazzo Mortgage Loan contract “prohibits the charging of fees not expressly authorized by

15   State or Federal law.” Id. ¶ 179. Plaintiffs allege that no applicable law expressly authorizes

16   the charging of Payoff Fees, and thus Freddie Mac breached the Palazzo Mortgage Loan

17   contract when Nationstar imposed a Payoff Fee to Palazzo. Id. ¶ 177.

18                                              ARGUMENT

19   I.      THE MERRILL DOCTRINE REQUIRES DISMISSAL OF THE CLAIM
             AGAINST FREDDIE MAC.
20
             The Court should dismiss the claim asserted against Freddie Mac in the Amended
21
     Complaint. Relying on the Merrill Doctrine, courts around the country have consistently ruled
22
     that Freddie Mac (and Fannie Mae) cannot be held liable for unlawful actions taken by its
23
     servicers if Freddie Mac did not actually authorize those actions. Here, the Amended
24
     Complaint makes no allegations whatsoever that Freddie Mac authorized Nationstar to charge
25
     any unlawful fees. In fact, the opposite is true: Freddie Mac’s Guide explicitly requires its
26
                                                                                       Miller Nash LLP
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1    servicers, including Nationstar, to comply with all applicable law and charge only lawful fees.

2    For this reason alone, the Court should dismiss Plaintiffs’ claim against Freddie Mac.

3            A.         The Merrill Doctrine.
4            The Merrill Doctrine – which the Supreme Court created in Federal Crop Insurance

5    Co. v. Merrill, 332 U.S. 380 (1947) – provides that a federal instrumentality can only be

6    vicariously liable for the acts of its agents if those acts were actually authorized by the

7    instrumentality. Under the Merrill Doctrine, a federal instrumentality “cannot be held

8    vicariously liable for acts of its agents that were not actually authorized even if a private

9    principal could be held liable in the same or similar circumstances under a theory of apparent

10   authority.” Faiella v. Fed. Nat’l Mortg. Ass’n, 928 F.3d 141, 143 (1st Cir. 2019) (citing

11   Merrill, 332 U.S. at 384).

12           If a defendant invokes the protections of the Merrill Doctrine on a Rule 12(b)(6)

13   motion, the court must first determine whether the defendant is a federal instrumentality for

14   purposes of the Doctrine. In making this determination, courts look to whether the defendant

15   was created to serve an important government objective and whether holding the defendant

16   liable for its agents unauthorized acts would undermine that objective. See Faiella, 928 F.3d at

17   148 (citations omitted). Once a defendant has established that it is a federal instrumentality

18   under Merrill, the court must then determine whether the complaint plausibly alleges that the

19   defendant actually authorized its agent’s unlawful acts. See Johnson, 2013 WL 308957, at *6;

20   Coniglio, 2019 WL 9633294, at *4; Cannon, 917 F. Supp. 2d at 1035.

21           B.         Freddie Mac Is A Federal Instrumentality For Merrill Doctrine Purposes.
22           As previously explained, Freddie Mac was created by Congress to serve an important

23   government objective: to help provide liquidity, stability, and affordability in the residential

24   mortgage market, and continues to serve that important objective today. Supra, at pp. 2-3.

25   Thus, courts around the country, including in this District, have consistently recognized Freddie

26   Mac as a federal instrumentality for purposes of the Merrill Doctrine. See, e.g., Johnson, 2013
                                                                                       Miller Nash LLP
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1    WL 308957, at *6; St. Amour v. Fed. Home Loan Mortg. Corp., 2022 WL 704027, at *2-3

2    (D.R.I. Mar. 9, 2022); Draper v. Fed. Home Loan Mortg. Corp., 2014 WL 2601740, at *3

3    (Bankr. D. Or. June 10, 2014); Paslowski, 129 F. Supp. 2d at 800; Deerman, 955 F. Supp. at

4    1400; Dupuis v. Fed. Home Loan Mortg. Corp., 879 F. Supp. 139, 144 (D. Me. 1995);

5    Mendrala v. Crown Mortg. Co., 955 F.2d 1132, 1140-41 (7th Cir. 1992). Freddie Mac “has at

6    its core a public purpose established by Congress, which is to provide stability in, and to

7    provide ongoing assistance to, a secondary market for home mortgages.” Paslowski, 129 F.

8    Supp. 2d at 802 (citing Mendrala, 955 F.2d at 1140). Imposing liability on Freddie Mac “for

9    the unauthorized actions of an entity such as [its servicer] would thwart its congressional

10   purpose.” Mendrala, 955 F.2d at 1141. This Court should likewise find here that Freddie Mac

11   is an instrumentality of the federal government for purposes of the Merrill Doctrine.

12           C.         The Amended Complaint Does Not Allege That Freddie Mac Actually
                        Authorized Nationstar’s Conduct.
13
             As a federal instrumentality entitled to the protection of the Merrill Doctrine in this
14
     lawsuit, Freddie Mac is not bound by any unauthorized acts of its servicers. In other words,
15
     Freddie Mac may only be liable for Nationstar’s acts if Freddie Mac actually authorized them.
16
     The Court should dismiss the claim asserted against Freddie Mac in the Amended Complaint
17
     because it alleges no facts that plausibly suggest that Freddie Mac actually authorized
18
     Nationstar’s complained of acts.
19
             Nowhere does the Amended Complaint allege that Freddie Mac actually authorized
20
     Nationstar to charge a Payoff Fee to the Palazzo Mortgage Loan. It does not assert that Freddie
21
     Mac instructed Nationstar to charge a Payoff Fee to Palazzo or that Freddie Mac even knew
22
     that Nationstar would charge a Payoff Fee to Palazzo. That is the end of the matter. In the
23
     absence of plausible allegations of actual authorization in the Amended Complaint, the Court
24
     need go no further to dismiss the claim against Freddie Mac under the Merrill Doctrine. See
25
     Johnson, 2013 WL 308957, at *6 (dismissing plaintiffs’ claims under Merrill Doctrine when
26
                                                                                      Miller Nash LLP
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1    plaintiff alleged no facts that Freddie Mac authorized servicer’s wrongdoing); Coniglio, 2019

2    WL 9633294, at *4 (dismissing plaintiffs’ claims under Merrill Doctrine because “there is no

3    allegation that [Fannie Mae] ‘actually authorized’ the conduct that gives rise to Plaintiff’s

4    injury in the underlying action”); Cannon, 917 F. Supp. 2d at 1035 (emphasizing that plaintiffs

5    did not allege that “Fannie Mae authorized Wells Fargo’s kickback scheme, the excessive

6    coverage, or the backdating”); see also Best v. Newrez LLC, 2020 WL 5513433, at *33 (D. Md.

7    Sept. 11, 2020) (“Plaintiff has also made no allegations with respect to whether Fannie Mae

8    authorized the acts by Shellpoint that give rise to Plaintiff’s claims, further undermining the

9    plausibility of Plaintiff’s already limited allegations against Fannie Mae”).

10           D.         Freddie Mac Expressly Prohibited Nationstar From Charging Borrowers
                        Unlawful Fees.
11
             Not only is the Amended Complaint devoid of any allegation that Freddie Mac actually
12
     authorized Nationstar to charge any unlawful fee to Palazzo, any such assertion would be
13
     belied by Freddie Mac’s express direction to Nationstar that it comply with all applicable laws
14
     in its servicing of Freddie Mac loans and that it only charge fees to the extent permitted by
15
     applicable law. Such an express direction to Nationstar and all other servicers is in the publicly
16
     available Freddie Mac Guide available on its website. Freddie Mac Single-Family
17
     Seller/Servicer Guide (June 12, 2024), https://guide.freddiemac.com/app/guide.
18
             Freddie Mac’s Guide is the primary contractual document governing its servicers’
19
     obligations in servicing all Freddie Mac loans. Esler Decl., Ex. A: Guide, § 1101.2 (“The
20
     Guide governs the business relationship between a Seller/Servicer and Freddie Mac relating to
21
     the sale of Mortgages to, and Servicing of such Mortgages for, Freddie Mac.”). Among other
22
     things, the Guide provides direction to servicers with respect to compliance with applicable law
23
     and the charging of fees. Specifically, the Guide states:
24
                 “Any costs or expenses incurred by the Servicer may be charged or collected from
25                the Borrower only to the extent allowed under the terms of the Security Instrument,
                  the Servicing Contract and any applicable law.” Guide § 8101.2 (emphasis added).
26
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1                  “The Servicer must service Mortgages purchased by Freddie Mac in accordance
                    with the requirements of applicable law and the Purchase Documents.” Id. at
2                   § 8102.1(a) (emphasis added).

3                  “The Seller/Servicer agrees to comply with all applicable federal, State and local
                    laws, ordinances, regulations, orders and regulator guidance . . . including, without
4                   limitation . . . laws that prohibit unfair or deceptive acts or practices[,]. . . The Truth
                    in Lending Act[,]. . . The Fair Debt Collections Practices . . . .” Id. at § 1301.2(a).
5

6              These provisions expressly forbid Nationstar from charging a fee to Palazzo in violation

7    of any state or federal law. Indeed, Plaintiffs admit that “Freddie Mac requires that Nationstar

8    service its agreements, including the Palazzo Loan and the loans of similar putative class

9    members, in accordance with federal and Maryland law . . . .” Am. Compl. ¶ 2 (emphasis

10   added). That admission, by itself, requires dismissal of Freddie Mac from this lawsuit. If the

11   Court finds the allegations in the Amended Complaint to be true – that Nationstar breached the

12   Palazzo Mortgage Loan contract by imposing a fee in violation of applicable law (Am. Compl.

13   ¶ 179) – then Nationstar acted in violation of Freddie Mac’s specific instructions to the

14   contrary. Under the Merrill Doctrine, Freddie Mac cannot, as a matter of law, be liable for

15   such an act by Nationstar. See Paslowski, 129 F. Supp. 2d at 804 (Merrill Doctrine required

16   dismissal of claim against Freddie Mac that was premised on servicer’s conduct that “was

17   outside the scope of the servicers’ actual authority,” as evidenced by Freddie Mac Guide);

18   Johnson, 2013 WL 308957, at *7 (same).

19             E.       Plaintiffs’ “Ratification” Argument Is Meritless.

20             Plaintiffs make no allegations that Freddie Mac authorized Nationstar to charge fees in

21   violation of any law. Indeed, Plaintiffs admit that “Freddie Mac requires that Nationstar

22   service its agreements, including the Palazzo Loan and the loans of similar putative class

23   members, in accordance with federal and Maryland law . . . .” Am. Compl. ¶ 2 (emphasis

24   added).

25

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1            Confronted with these facts, Plaintiffs try a different approach: they make a series of

2    allegations that Freddie Mac “ratified” Nationstar’s conduct by alleged inaction.4 This tactic

3    does not save the claim against Freddie Mac from dismissal because “[t]he Merrill doctrine

4    requires a showing of actual authority as a basis for holding a federal instrumentality

5    vicariously liable for the acts of its agents.” Faiella, 928 F.3d at 143 (emphasis added) (citing

6    Merrill, 332 U.S. at 384). An instrumentality “cannot be held vicariously liable for acts of its

7    agents that were not actually authorized even if a private principal could be held liable in the

8    same or similar circumstances under a theory of apparent authority.” Id. at 143 (emphasis

9    added) (citing Merrill, 332 U.S. at 384); see also id. at 150 (“apparent authority ‘is not

10   available to bind the federal sovereign’” (quoting United States v. Flemmi, 225 F.3d 78, 85 (1st

11   Cir. 2000))).

12           Freddie Mac knows of no cases in which a court has held a federal instrumentality

13   vicariously liable for its agent’s actions based on a theory of “ratification,” let alone ratification

14   by inaction. And at least one court has expressly rejected the theory: “Plaintiff offers no legal

15   authority for the novel theory that a federal instrumentality may be held vicariously liable based

16   on a theory of ratification, and the Court can find none.” Coniglio, 2019 WL 9633294, at *4.

17           Although no more is needed, Plaintiffs’ “ratification” theory also fails under Rule

18   12(b)(6) for the additional reason that their allegations are fatally vague. Plaintiffs make only

19   generic claims of ratification and allege no specific facts detailing how Freddie Mac

20   supposedly ratified Nationstar’s imposition of a Payoff Fee to the Palazzo Mortgage Loan. See

21   Wondie v. King Cnty., 2023 WL 22058, at *4 (W.D. Wash. Jan. 3, 2023) (“In order to survive a

22
     4
23     Am. Compl. ¶¶ 180 (“turning a blind eye in reckless indifference,” despite having the “ability
     and means and methods to ensure such compliance by Nationstar’s work on [its] behalf”); 181
24   (“choos[ing] not to investigate Nationstar’s conduct,” despite having “an appreciation of
     Nationstar’s overall pay-to-pay practices since they have been involved in this conduct with
25   many actions across the country”); 182 (“choos[ing] not to require Nationstar to correct its
     practices,” despite Nationstar’s disclosure of the claims asserted by Plaintiffs in this action in
26   March 2024); 183 (“never [having] required Nationstar to stop its payoff statement fee
     harvesting practice”).
                                                                                        Miller Nash LLP
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1    motion to dismiss [on theory of ratification], [plaintiff] must allege some additional facts that a

2    policymaker had ‘knowledge of the constitutional violation and actually approve[ed] of it.’”

3    (citation omitted)); see also Cannon, 917 F. Supp. 2d at 1035 (“It is Plaintiff’s burden under

4    Merrill to make allegations that Fannie Mae authorized Wells Fargo’s acts.”). For this

5    additional reason, Plaintiffs’ breach of contract claim against Freddie Mac must be dismissed.

6    II.     PLAINTIFFS OTHERWISE FAIL TO STATE A VALID CLAIM FOR BREACH
             OF CONTRACT AGAINST FREDDIE MAC.
7
             The Court should dismiss the claim asserted against Freddie Mac in the Amended
8
     Complaint for the separate, additional reason that it fails to state a valid claim for breach of
9
     contract – the only claim asserted against Freddie Mac. “[T]he elements of a breach of contract
10
     claim include: (1) a contractual obligation and (2) a material breach of that obligation.” GMD
11
     Props., LLC v. Safeco Ins. Co. of Am., 2022 WL 2073854, at *3 (D. Md. June 9, 2022)
12
     (citations omitted).5 Thus, “to state a prima facie claim for breach of contract under Maryland
13
     law, a plaintiff must allege that a contractual obligation exists, and that the defendant has
14
     breached that obligation.” McCray v. Specialized Loan Servicing, 2013 WL 1316341, at *4 (D.
15
     Md. Mar. 28, 2013).
16
             Plaintiff Palazzo has failed to state a valid breach of contract claim against Freddie
17
     Mac. Specifically, the Amended Complaint does not plausibly allege a breach of any particular
18
     provision of the Palazzo Mortgage Loan contract by Freddie Mac. See Woodrow v. Vericrest
19
     Fin., Inc., 2009 WL 4348594, at *4 (D. Md. Nov. 30, 2009) (dismissing breach of contract
20
     claim when “the loan agreement does not contain any provision requiring Defendant to inform
21
     Plaintiff of its financial condition or to produce any type of blue ink signature note”); Garay v.
22
     Select Portfolio Servicing Inc., 2020 WL 10823745, at *10 (S.D. Fla. Aug. 7, 2020), report and
23

24   5
       Freddie Mac respectfully submits that pursuant to the choice-of-law provision in the Palazzo
25   Deed of Trust, Maryland law applies to Palazzo’s breach of contract claim. Gierke v. Allstate
     Prop. & Cas. Ins. Co., 2019 WL 4849494, at *3 (W.D. Wash. Oct. 1, 2019). However,
26   Washington law is no different and would respect the parties’ contractual choice of law. Erwin
     v. Cotter Health Ctrs., 167 P.3d 1112, 1121 (Wash. 2007).
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1    recommendation adopted, 2020 WL 10823759 (S.D. Fla. Aug. 31, 2020) (“Plaintiff, here, does

2    not point to any specific provision which would characterize charging processing fees as a

3    breach of the Mortgage, and therefore, does not adequately allege the breach.”).

4            The Amended Complaint alleges that, “on behalf of Freddie Mac . . . , Nationstar

5    improperly collected Payoff Fees contrary to the express terms of [the] mortgage agreements

6    that prohibit the charging of fees not expressly authorized by State or Federal law.” Am.

7    Compl. ¶ 179. In other words, Plaintiffs contend that the Palazzo Mortgage Loan contract

8    forbids charging fees that are not expressly authorized by applicable law. The Palazzo

9    Mortgage Loan contract, however, contains no such provision. See David v. Herc Rentals Inc.,

10   2024 WL 2133369, at *3 (W.D. Wash. May 10, 2024) (court need not accept allegations as true

11   when contradicted by record evidence) (citation omitted).

12           Rather, the Palazzo Deed of Trust states: “Lender may not charge fees that are

13   expressly prohibited by this Security Instrument or by Applicable law.” Esler Decl., Ex. B ¶ 14

14   (emphasis added).6 And significantly, it further provides that “the absence of express authority

15   in this Security Instrument to charge a specific fee to Borrower shall not be construed as a

16   prohibition on the charging of such fee.” Id. (emphasis added).

17           Based on the plain language of the Deed of Trust, Plaintiffs’ breach of contract claim

18   against Freddie Mac is simply implausible. It is premised on the “breach” of a provision that

19   does not exist and ignores the explicit language that the absence of express authority shall not

20   be construed as a prohibition.

21           In Mirabadi v. Select Portfolio Servicing, Inc., the court dismissed a breach of contract

22   claim under nearly identical circumstances. 2024 WL 1151673, at *6 (C.D. Cal. Feb. 13,

23   2024). The plaintiff in that case alleged “that the EZ Pay fees breached her deed of trust

24   because they were not authorized by the contract or, alternatively, because the charges were

25   6
      The Court may take judicial notice of the Palazzo Deed of Trust, which is publicly available,
26   pursuant to Fed. R. Evid. 201. See Carlson v. Wells Fargo Bank, N.A., 2015 WL 2062394, at
     *4 (W.D. Wash. May 4, 2015).
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1    prohibited by law.” Id. at *4. The deed of trust contained the same language at issue here:

2    “[i]n regard to any other fees, the absence of express authority in this Security Instrument to

3    charge a specific fee to Borrower shall not be construed as a prohibition on the charging of

4    such fee. Lender may not charge fees that are expressly prohibited by this Security Instrument

5    or by Applicable Law.” Id. at *5 (citation omitted). In dismissing the plaintiff’s breach of

6    contract claim, the court explained: “The plain terms of the ‘Loan Charges’ clause expressly

7    allow for fees like the EZ Pay fee, as nowhere does the agreement forbid such fees. And the

8    agreement provides that if there is no express prohibition, then there is no prohibition at all.”

9    Id.

10           Likewise, in Matchett v. BSI Financial Services, the 10th Circuit affirmed the district

11   court’s dismissal of a breach of contract claim based on the charging of a convenience fee,

12   relying on the same exact language in the Palazzo Deed of Trust: “the absence of express

13   authority in this Security Instrument to charge a specific fee to Borrower shall not be construed

14   as a prohibition on the charging of such fee.” 2021 WL 3473062, at *5 (D. Utah Aug. 6, 2021),

15   aff’d, 2023 WL 4678683 (10th Cir. July 21, 2023). The court reasoned: “[b]ecause the

16   Amended Complaint does not identify a single contractual provision of the loan documents, or

17   any other contract between Matchett and BSI, that prohibited BSI from charging the

18   convenience fees for optional phone payment services, Matchett’s breach of contract claim is

19   not plausible.” Id.

20           Other courts have come to the same conclusion in cases alleging breaches of mortgage

21   agreements, where the mortgage contract contained the same or similar “the absence of express

22   authority” language as the Palazzo Deed of Trust here. See, e.g., McGhee v. Fay Servicing,

23   LLC, 2023 WL 2335376, at *11 (M.D. La. Mar. 2, 2023) (“Plaintiffs have not pointed the

24   Court to any specific provision of the original mortgage agreement or the modifications that it

25   contends Defendants breached by adding said fees. On the contrary, . . . the mortgage . . .

26   provides that ‘the absence of express authority in this Security Instrument to charge a specific
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1    fee to [Plaintiffs] shall not be construed as a prohibition on the charging of such fee.’”); Lish v.

2    Amerihome Mortg. Co., LLC, 2020 WL 6688597, at *5 (C.D. Cal. Nov. 10, 2020) (dismissing

3    breach of contract claim where Plaintiff was charged convenience fee because “the Mortgage

4    specifically state[d] that the failure to include a specific fee ‘shall not be construed as a

5    prohibition of the charging of such fee’”); Torliatt v. Ocwen Loan Servicing, LLC, 2020 WL

6    1904596, at *5 (N.D. Cal. Apr. 17, 2020) (dismissing breach of contract claim where “the Deed

7    of Trust describes only fees that are ‘expressly prohibited’” and convenience fees were not

8    expressly prohibited); Manos v. MTC Fin., Inc., 2018 WL 6220051, at *6 (C.D. Cal. Apr. 2,

9    2018), aff’d, 773 F. App’x 452 (9th Cir. 2019) (“Based on the language of the Manos’s loan,

10   [“in the absence of express authority in this Security Instrument to charge a specific fee to

11   Borrower shall not be construed as a prohibition on the charging of such fee”] Plaintiffs’

12   general allegations that they were unlawfully charged legal fees and other fees belies the terms

13   of the loan . . . .”).

14            Accordingly, this Court should find that Palazzo failed to adequately allege a breach of

15   any particular provision of the Palazzo Mortgage Loan contract by Freddie Mac. Not only is

16   the Palazzo Deed of Trust devoid of any provision that prohibits charging a fee that is not

17   expressly authorized by applicable law, it confirms the opposite – that “the absence of express

18   authority [] shall not be construed as a prohibition on the charging of such fee.” Esler Decl.,

19   Ex. B ¶ 14. In the face of such language, Palazzo’s breach of contract claim against Freddie

20   Mac is implausible and must be dismissed.

21                      CERTIFICATION OF CONFERRAL AND CONCLUSION
22            Attorneys for Freddie Mac conferred with plaintiffs’ counsel starting on August 23,

23   2024 and thereafter regarding the subject of this motion but could not reach agreement except

24   as noted in footnote 1. For reasons stated above, Freddie Mac respectfully requests that the

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1    Court grant this motion and dismiss the claims asserted against it in the Amended Complaint

2    with prejudice.7

3            I certify that this memorandum contains 5,014 words, in compliance with the Local

4    Civil Rules.

5            DATED this 9th day of September, 2024.
6                                                 /s/ Brian W. Esler
                                                  Brian W. Esler, WSBA No. 22168
7                                                 /s/ Jesús Miguel Palomares
                                                  Jesús Miguel Palomares, WSBA No. 51858
8                                                 /s/ Lane Conrad
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20
                                                  Attorneys for Defendant
21                                                Federal Home Loan Mortgage Corporation
22
     7
23     Should Plaintiffs’ claim against Freddie Mac survive this motion – and it should not – Freddie
     Mac intends to move to strike Plaintiffs’ putative “Defendant Class.” Courts have long
24   recognized that defendant class actions are seldom certified, making them as rare as “unicorns.”
     Bell v. Brockett, 922 F.3d 502, 504 (4th Cir. 2019) (citation omitted). Furthermore, as a federal
25   instrumentality under the conservatorship of the FHFA, Freddie Mac has unique defenses that
     are unavailable to other owners of mortgage loans serviced by Nationstar. See 12 U.S.C.
26   § 4617. Freddie Mac, therefore, also is not an adequate – or appropriate – representative of the
     Defendant Class.
                                                                                    Miller Nash LLP
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1                                      CERTIFICATE OF SERVICE

2              The undersigned certifies under penalty of perjury under the laws of the State of

3    Washington, that the foregoing document was presented to the Clerk of the Court for filing and

4    uploading to the CM/ECF system, which will send notification of such filing to all counsel of

5    record.

6              DATED this 9th day of September, 2024.

7
                                                             /s/ Kristin Martinez Clark
8                                                            Kristin Martinez Clark
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